Case 3:17-cv-02345-B-BT Document 45 Filed 07/01/19                  Page 1 of 2 PageID 278


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS


  NICHOLAS LACKEY,                               §              CIVIL ACTION NO:
                                                 §
        PLAINTIFF                                §              3:17-cv-2345
  OFFICERS ABEL SALAZAR #1037,                   §
  AUSTIN PALMER #1045,                           §
                                                 §
  (individually)                                 §              DALLAS DIVISION
                                                 §
           DEFENDANTS                            §
                                                 §


             PLAINTIFF’S MOTION TO EXTEND DEADLINE TO RESPOND TO
                   DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

           COMES NOW, Plaintiff Nicholas Lackey, to file this, his Motion to Extend

  Deadline to Respond to Defendant’s Motion for Summary Judgment:

                                                     I.
        Defendants filed their Motion for Summary Judgment on April 1, 2019. By this motion,

 Plaintiff moves this Court to extend his deadline to Respond to the motion to July 12, 2019, and

 that Defendant’s Reply Deadline moved to August 2, 2019.

        This motion is not sought for purposes of delay.




                                                      Respectfully submitted,


                                                          _/s/ Dimitri Dube
                                                          Dimitri Dube
                                                          TX State Bar No.
                                                          24068944 Dimitri Dube
                                                          PC
                                                          325 N. St. Paul
                                                                                             11
Case 3:17-cv-02345-B-BT Document 45 Filed 07/01/19 Page 2 of 2 PageID 279
                                           Street Suite 2750
                                           Dallas, TX 75201
                                           469.484.5021 tel.
                                           214.975.2010 fax
                                           dimitridubepc@gmail.com

                                                      /s/ Ezekiel Tyson, Jr.
                                                      Ezekiel Tyson, Jr.
                                                      Bar No 24034715
                                                      342 W. Montana Avenue
                                                      Dallas, TX 75424
                                                      214-942-9000
                                                       tyson@tysonlawfirm.com
                                                      ATTORNEYS FOR PLAINTIFF



                               CERTIFICATE OF SERVICE
 This motion has been served on counsel for Defendants via ECF.

                                                       _/s/ Dimitri Dube
                                                       Dimitri Dube

                              CERTIFICATE OF CONFERENCE

 Plaintiff has requested Defendant’s position on this motion, and did not receive a response prior
 to filing.

                                                       _/s/ Dimitri Dube
                                                       Dimitri Dube




                                                                                              11
